Case 1:13-cv-02469-RM-MJW Document 88 Filed 01/21/15 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

         Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER and
  ASHLEIGH OLDS,

         Defendants.


                 ORDER RE MOTION FOR CLARIFICATION (ECF NO. 83)


         This matter comes before the Court on Defendants Cindy Hardey, Bobbi Priestly, Monte

  Gore, and Fred Wegener’s (collectively, “Four Defendants”) “Motion for Clarification Regarding

  the Court’s Civil Practice Standards or in the Alternative Motion for Leave” (“Motion”) (ECF No.

  83) requesting clarification as to the number of motions for summary judgment permitted or leave

  to file three such motions. The Court’s Civil Practice Standards provide: “These procedures

  contemplate the filing of a single motion for summary judgment by a party. A party may NOT

  file multiple motions for summary judgment without obtaining permission from the Court. Such

  permission will only be given in exceptional circumstances.” Under these Standards, the intent

  was to limit each side to a single motion, absent leave of the Court. For example, Plaintiffs in this

  case would be limited to one motion for summary judgment, not one motion for each plaintiff.
Case 1:13-cv-02469-RM-MJW Document 88 Filed 01/21/15 USDC Colorado Page 2 of 2




  And, in this case, the Four Defendants’ and Defendant Ashleigh Olds’ interests are apparently not

  aligned and they are represented by separate counsel. Thus, the Four Defendants would be

  limited to one motion, and Defendant Olds would be limited to one motion. Nonetheless, upon

  consideration of the Motion, the Standards, and the file, and being otherwise fully advised, the

  Court finds good cause to support the Motion. The parties are reminded to seek any clarification

  of the Court’s Standards before the filing of any paper for which the clarification is sought.

  Accordingly, it is therefore

          ORDERED that Defendants Cindy Hardey, Bobbi Priestly, Monte Gore, and Fred

  Wegener’s “Motion for Clarification Regarding the Court’s Civil Practice Standards or in the

  Alternative Motion for Leave” (ECF No. 83) is GRANTED. These Defendants’ Motions for

  Summary Judgment (ECF Nos. 64, 65 and 66) are hereby accepted as filed as of December 15,

  2014.

          DATED this 21st day of January, 2015.

                                                        BY THE COURT:



                                                        ____________________________________
                                                        RAYMOND P. MOORE
                                                        United States District Judge




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